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UNITED STATES OF AMERICA                       CRIMINAL COMPLAINT

      v.
ALEXANDER BRAZHNIKOV, SR.                      Magistrate No. 15-3519



      I, Chetwyn M. Jones, the undersigned complainant being duly sworn,

state the following is true and correct to the best of my knowledge and belief.

                              SEE ATTACHMENT A

      I further state that I am a Special Agent with the Federal Bureau of

Investigation ("FBI"), and that this complaint is based on the following facts:

                              SEE ATTACHMENT B

continued on the attached page and made a part hereof.




                                                hliS'+·urirn M. Jones, Special Agent
                                                     ral Bureau of Investigation


Sworn to before me and subscribed in my presence,


March 10, 2015                            at
Date

Honorable Mark Falk
United States Magistrate Judge
Name & Title of Judicial Officer
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                                ATTACHMENT A

                                   Count One
                    Conspiracy to Commit Money Laundering

     From in or about January 2008 through in or about September 2014, in
Union County, in the District of New Jersey and elsewhere, the defendant
ALEXANDER BRAZHNIKOV, SR., together with others, did knowingly and
intentionally conspire and agree with each other and with others to transmit and
transfer monetary instruments and funds from a place outside the United States,
to wit, Russia, to a place in the United States, to wit, New Jersey, with the intent
to promote the carrying on of specified unlawful activity, namely the smuggling of
electronics components from the United States contrary to Title 18, United
States Code, Section 554(a), and contrary to Title 18, United States Code, Section
1956(a)(2)(A), in violation of Title 18, United States Code, Section 1956(h).

                                 Count Two
              Conspiracy to Smuggle Goods from the United States


      From in or about January 2008 through in or about September 2014, in
Union County, in the District of New Jersey and elsewhere, the defendant
ALEXANDER BRAZHNIKOV, SR., together with others, did knowingly and
intentionally conspire and agree with each other and with others to fraudulently
export and send from the United States merchandise, articles, and objects,
including electronics components, contrary to Title 13, United States Code,
Section 305, and to receive, conceal, buy, sell and in any manner facilitate the
transportation, concealment, or sale of such merchandise, articles and objects,
prior to exportation, knowing the same to be intended for exportation, contrary to
Title 18, United States Code, Section 554(a).
      In furtherance of the conspiracy and to effect its unlawful objects, the
above-listed defendant and his co-conspirators committed and caused to be
committed the following overt acts, among others, in the District of New Jersey
and elsewhere, as set forth in Attachment B below, in violation of Title 18, United
States Code, Section 371.
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                                ATTACHMENT B


      I, Chetwyn M. Jones, am a Special Agent with the Federal Bureau of
Investigation ("FBI"). I am fully familiar with the facts set forth herein based on
my own inv:estigation, my conversations with other law enforcement officers, and
my review of reports, documents, and other pertinent items of evidence. Where
statements of others are related herein, they are related in substance and in part.
Because this complaint is being submitted for a limited purpose of establishing
probable cause to support the issuance of a complaint and arrest warrant, I have
not necessarily included each and every fact that I know or that other law
enforcement agents know concerning this investigation. Where I assert that an
event took place on a particular date, I am asserting that it took place on or about
the day alleged.

                                  The Defendant

1.     The defendant ALEXANDER BRAZHNIKOV, SR., is the owner, chief
executive officer, and principal operator of a privately held, Russian business
entity identified as ABN UNIVERSAL, a microelectronics import/ export company
located in Moscow, Russia.

                               The Co-Conspirators

2.     Alexander Brazhnikov, Jr., aka "Alexandre Brajnikov" (hereinafter,
"Alexander Brazhnikov, Jr."), is the owner, chief executive officer, and principal
operator of the following privately held, New Jersey business entities: (a) ABN
Universal, Inc., a microelectronics export company formerly located in Carteret,
NJ; (b) Zond-R, Inc., a microelectronics export company with its principal place
of business in Union, NJ; (c) Telecom Multipliers, a microelectronics export
company with its principal place of business in Mountainside, NJ; and (d)
Electronics Consulting, Inc., a microelectronics export company with its
principal place of business in Manalapan, NJ (hereinafter, these business
entities are collectively referred to as the "NJ Export Companies") . 1




 ALEXANDER BRAZHNIKOV, JR., aka "Alexandre Brajnikov," and the NJ Export
i.
Companies were previously charged in connection with the sealed criminal matter of
United States v. Alexander Brazhnikov, et al., Mag. No. 14-3677 (MF).
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                             Summary of Investigation

3.     Defendant ALEXANDER BRAZHNIKOV, SR., Moscow-based ABN
Universal, Inc., and co-conspirators Alexander Brazhnikov, Jr., and the NJ
Export Companies, together with others known and unknown (hereinafter,
collectively, the "Subjects"), are part of an illicit, sophisticated, international
electronics procurement network that is designed to surreptitiously acquire large
quantities of electronic components from United States manufactures and
vendors, and to export those parts to Russia, on behalf of Russian business
entities that are authorized to supply those parts to the Ministry of Defense of the
Russian Federation, as well as the Federal Security Service of the Russian
Federation (the "FSB"). Over approximately the last four years, this network
has unlawfully obtained and exported over $65 million worth of electronics from
the United States to Russian business entities in violation of export control laws,
as further described herein.

4.    An investigation conducted by the FBI beginning in or about December
2012 has revealed that defendant ALEXANDER BRAZHNIKOV, SR., through
Moscow-based ABN Universal, was responsible for obtaining initial requests for
quotes for U.S. electronics components from various Russian entities, including
licensed defense contractors. Those requests were then communicated by
defendant ALEXANDER BRAZHNIKOV, SR. and the Subjects' Moscow-based
network either directly to U.S. vendors by electronic means or by sending the
requests to their co-conspirators in the U.S. Using the NJ Export Companies,
the Subjects finalized the purchase and acquisition of the requested components
from the various U.S.-based distributors. In order to make these purchases,
however, the Subjects concealed the true identity of the ultimate end-user2 of the
components in Russia. Upon receipt of the components at the NJ Export
Companies' locations, the Subjects re-packaged and prepared the parts for
export to Russia via various shipping companies based in New York and New
Jersey. In violation of U.S. export control laws, the Subjects routinely and
systematically falsified the true value of the exported items on shipping
documents in order to evade the legal requirement of filing an Electronic Export

2The U.S. Department of State ("DOS") and the U.S. Department of Commerce ("DOC")
require that certain forms (i.e., 'end-user agreements') be properly executed in
connection with the export of controlled items. The DOS requires a completed form
DSP-83 be included as a part of an application for authorization to export significant
military equipment and classified equipment or data. See, 22 C.F.R. §§ 123. lO(a),
124.10 and 125.7. The form DSP-83 must be completed by the appropriate foreign
persons (e.g., consignee, end-user, government) and forwarded to the DOS through the
U.S. person/entity making the application. The DOC requires that a completed form
BIS-711 ("Statement by Ultimate Consignee and Purchaser") be included as part of an
application for authorization to export certain controlled items, subject to the
parameters of 15 C.F.R. §§ 748, et. seq.
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Information ("EEi") via the Automated Export System ("AES"),3 thereby
concealing their export activities from the United States.

5.     In addition to falsifying the value of the parts they exported, the Subjects
purposefully concealed the true destination of the parts they were exporting by
directing that the shipments be sent to various recipients and addresses in
Russia which were controlled by the Moscow-based network. Specifically, an
exhaustive review of banking records, purchase invoices, and shipping
documents recovered in this investigation has identified approximately 1,670
shipments directed by the Subjects to locations in Russia over approximately the
last four years. Significantly, all of the shipments sent to the various named
recipients in Russia have been traced to a total of twelve unique addresses in
Moscow. These addresses are all located within six miles of one another, and
law enforcement agents have confirmed that none of the addresses hosts any
entity that could be described as a manufacturer, distributor, dealer, or any
entity actually affiliated with the business of acquiring, shipping or selling
electronics components. In fact, several of the addresses have been identified
as vacant apartments or storefronts. Additionally, of the remaining shipments
identified during this timeframe that were initially addressed to recipients in
Finland or Germany, law enforcement agents have traced the final destination of
those shipments to one of the twelve known Moscow addresses. Based on these
facts, and other information obtained during this investigation, law enforcement
agents have confirmed that each of the twelve addresses contained in the six mile
radius in Moscow were actually shell entities established at the direction of
defendant ALEXANDER BRAZHNIKOV, SR., and utilized by the Subjects as part
of their ongoing, illicit procurement of U.S. electronics components. All
shipments initially directed to the twelve shell addresses were, in fact,
re-directed to a central warehouse controlled by defendant ALEXANDER
BRAZHNIKOV, SR. and the Subjects' Moscow-based network. The use by the
Subjects of these recipient shell entities further enabled the Subjects to falsify
the true end-user of the electronics components they obtained from U.S. vendors
and subsequently exported to Russia.

6.    As further detailed herein, funds for these illicit transactions were
obtained from the various Russian purchasers, which were deposited into one of


3 Criminal penalties for unlawful export information activities as they pertain to EEi's
(formerly known as Shipper's Export Declaration ("SED") forms) are prescribed by 13
U.S.C. § 305. Generally, a DOC Form 7525-V (referred to herein as an "SED Form") is
required for all shipments sent to foreign countries regardless of the method of
transportation, subject to certain restrictions. As it applies to the instant investigation,
SED forms must be filed when: (i) an item requires an export license; (ii) is bound for an
embargoed country; or (iii) the value of the item(s) is greater than $2,500 (U.S.). SED
forms are electronically filed with the DOC through the AES.
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the Subjects' primary Russia-based accounts. Disbursements for purchases
were made from that primary Russian account through one or more foreign
accounts held by "shell" corporations in the British Virgin Islands ("BVI"), Latvia,
Marshall Islands, Panama, Ireland, England, United Arab Emirates, and Belize,
and ultimately into one of the Subjects' U.S.-based accounts. The Subjects
transferred monies from the U.S. to Russia in the same fashion. The creation
and use of dozens of shell companies at the direction of defendant ALEXANDER
BRAZHNIKOV, SR. and the Subjects was intended to conceal the true sources of
funds in Russia, as well as the identities of the various Russian defense
contracting firms who were receiving U.S. electronics components.

                                Financial Records

7.     Documents seized by FBI personnel pursuant to a court-authorized search
warrant for an e-mail account used by Alexander Brazhnikov, Jr. included a
computer-generated spreadsheet. This spreadsheet contained accounting
records for at least 28 separate bank accounts in four different countries (U.S.,
Russia, Germany, and Cyprus). Additional documents, correspondence, e-mail
communications, and information obtained by law enforcement personnel have
confirmed that ALEXANDER BRAZHNIKOV, SR. and Alexander Brazhnikov, Jr.
had direct access and/ or control over each of these accounts. As explained
further below, from in or about 2010 through the present, the accounts were
consistently funded by incoming wire transfers from over 50 different overseas
shell corporations.

8.    According to FBI analysis, from July 2010 to February 2014,
approximately $65,000,000 in wire transfers passed between the 28 accounts
and the foreign shell companies. Upon receipt of the wire transfers to the
Subjects' U.S.-based accounts, banking records show that the Subjects routinely
made purchases of U.S.-based electronic components for subsequent export to
Russia.

9.    Significantly, one of the Russian bank accounts (hereinafter, the "Funding
Account") has been identified as the primary account from which each of the wire
transfers were initiated through the overseas shell companies to the defendants'
U.S.-based accounts in 2013. Seized accounting records indicate that during
the 2013 fiscal year, over $15,000,000 was wire transferred from the Funding
Account to the shell companies. Each of the wire transfers sent from the
Funding Account to a given shell company corresponded to a subsequent wire
transfer from the shell company to one of the defendants' business accounts in
New Jersey. These records show that the Funding Account is the primary
funding and operations account for the financial network the Subjects used to
conduct their illicit export activities.

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10. Further analysis of the spreadsheet and banking records has revealed that
deposits into the Funding Account came from multiple sources, including
numerous Russian businesses that are authorized to supply electronic
components and parts to the Ministry of Defense of the Russian Federation and
the Federal Security Service of the Russian Federation (the "FSB"). Other
Russian companies making deposits into the Funding Account were involved in
the design of nuclear warheads, as well as nuclear weapons strategic and tactical
platforms.

11. Seized documents and banking records 4 have revealed the following partial
list of at least fourteen known entities that have made significant deposits to the
Funding Account, and that have been confirmed as authorized and/ or licensed
contractors for the Russian military and intelligence services:

      a.    Imotek: A Russian company authorized to supply parts to the
            Ministry of Defense of the Russian Federation;
      b.    VNIIA: Also known as "All Russia Research Institute of Automatics,"
            a Russian institute involved in the development of nuclear weapons
            for strategic and tactical platforms and firing and neutron initiation
            systems for nuclear weapons;
      c.    VNIITF: Russia's second nuclear warhead design institute;
      d.    Zao Atlas-Kard: A Russian company authorized to supply parts to
            the FSB;
      e.    Zao Besant: A Russian company authorized to supply parts to the
            FSB;
      f.    Zao Protection Group Jutta: A Russian company authorized to
            supply parts to the FSB;
      g.    OAO Scientific and Production Association: A Russian company
            authorized to supply parts to the FSB;
      h.    OAO Instrument Plant Tensor: A Russian company authorized to
            supply parts to the FSB;
      i.    000 Ancud: A Russian company authorized to supply parts to the
            FSB;
      J.    FGUP Eleron: A Russian company authorized to supply parts to
            the FSB;
      k.    000 O.P.T.: A Russian company authorized to supply parts to the
            FSB;
      1.    Avionika VPK: A Russian company authorized to supply parts to
            the Ministry of Defense of the Russian Federation;


4 Accounting records and other documents seized in this case contained both English
and Russian language notations. The names of the Russian companies used in this
affidavit have been translated from Russian to English.
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      m.    CTU STC: A Russian manufacturer of vehicles, antennas, tracking
            devices, and communication equipment for the Ministry of Defense
            of the Russian Federation and the FSB; and
      n.    VEKTOR: A Russian company with licenses from the FSB to
            provide components for the communication networks of Russian
            nuclear facilities.

12. As stated, analysis of the Funding Account indicates that over
$15,000,000 was wire-transferred from this account to the shell companies in
2013 alone. As monies were wire-transferred from the Funding Account to a
given shell company, a subsequent wire transfer was found from the shell
company to one of the Subjects' export business accounts in New Jersey.

13. For example, in or about January 2013, the Funding Account received
approximately $350,000 by Imotek, a licensed supplier of electronics parts for
the Russian military. On or about February 13, 2013, the Funding Account
wire-transferred $250,000.00 to Smoky Hills S.A., a shell company located in the
Marshall Islands. Bank records indicate that on or about February 13, 2013,
one of the Subjects' NJ bank accounts received a wire transfer from Smoky Hill
S.A. in the amount of approximately $250,000.00. The Subjects then utilized
funds in that account to make subsequent purchases of electronics parts, which
were then exported to a Moscow address controlled by the Subjects'
Russia-based network.

14. Similarly, on or about December 18, 2013, the Funding Account received a
deposit of approximately $34,515 from Avionika VPK, a Russian-based supplier
of electronics for the Russian military. On or about December 20, 2013, one of
the NJ Export Company accounts received a deposit in the amount of
approximately $188,500 from a shell company identified as Moriksen AG.
Documents recovered during this investigation included a December 2013
invoice to Avionika VPK from ABN Universal for a quantity of 1050 Triquint
TGA-2525 filters (the "Triquint Filters") for a total of $34,515, as well as a
packing list dated January 10, 2014, indicating that the NJ Export Companies
obtained and exported the Triquint Filters to the Subjects' Moscow-based
network. Accordingly, these records confirm that the Funding Account was
utilized by the Subjects to secretly send funds from Russia, through a shell
corporation, to the U.S. in order to facilitate the Subjects' purchase and export of
goods on behalf of a Russian company licensed to supply goods to the Russian
military.

15. Additionally, the Funding Account was funded over two hundred times in
2013, for a total of approximately $710,716, by CTU STC, a licensed supplier of
electronics parts for the Russian military and FSB. A review of the Funding
Account has revealed that CTU STC funds were dispersed by the Subjects
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through shell companies located worldwide to the Subjects' bank accounts in
New Jersey, and that these funds were used to make subsequent purchases of
electronics components. For example, on or about March 14, 2013, a shell
company identified as Pevoni Holdings LTD ("Pevoni"), located in Tortola, BVI,
received a wire transfer in the amount of $150,000 from the Funding Account.
Subsequently, one of the Subjects' NJ bank accounts received a wire transfer
from Pevoni in the same amount. Thereafter, from on or about March 15, 2013,
through on or about March 26, 2013, the Subjects used the same NJ bank
account to order electronics components from two U.S. electronics vendors,
totaling approximately $124, 129. Similarly, on or about March 20, 2013, a
shell company identified as Lentar, Ltd. ("Lentar"), located in Belize City, Belize,
received a wire transfer in the amount of approximately $248,000 from the
Funding Account. Subsequently, one of the Subjects' NJ bank accounts
received a wire transfer from Lentar in the same amount. Thereafter, from on or
about March 26, 2013, through on or about April 30, 2013, the Subjects used
the same NJ bank account to order electronics components from a U.S.
electronics vendor totaling $240,623.

16. Law enforcement has also confirmed through various sources, including
an in-depth review of court-authorized, intercepted communications, that
requests for, and confirmations of, funding activities for the network's operations
were often communicated via e-mail by and between defendant ALEXANDER
BRAZHNIKOV, SR. and Alexander Brazhnikov, Jr.

17. For example, on or about June 11, 2013, defendant ALEXANDER
BRAZHNIKOV, SR. sent an e-mail to Alexander Brazhnikov, Jr. to confirm that a
wire transfer had been made from the Russian Funding Account to a NJ Export
Company bank account in the amount of $184,500. A review of the banking
records for the NJ Export Company has confirmed that the account received a
wire transfer in the same amount from one of the foreign shell companies
established at the direction of ALEXANDER BRAZHNIKOV, SR. The Subjects
then utilized funds in that account to make subsequent purchases of electronics
parts, which were then unlawfully exported to a Moscow address controlled by
the Subjects' Russia-based network.

18. Similarly, on or about November 11, 2013, defendant ALEXANDER
BRAZHNIKOV, SR. sent an e-mail to Alexander Brazhnikov, Jr. to confirm that a
wire transfer had been made from the Russian Funding Account to a NJ Export
Company bank account in the amount of $195,300. A review of the banking
records for the NJ Export Company has confirmed that the account received a
wire transfer in the same amount from one of the foreign shell companies
established at the direction of ALEXANDER BRAZHNIKOV, SR. The Subjects
then utilized funds in that account to make subsequent purchases of electronics

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parts, which were then unlawfully exported to a Moscow address controlled by
the Subjects' Russia-based network.

19. As stated, the Subjects used the funding from the shell companies to
purchase millions of dollars of electronic components, electronic parts, and
related items from U.S. manufacturers and U.S. distributors, many of which
were subsequently exported to Russia at fraudulently diminished values, as
further described below.

                            Illegal Export Activities

20. Over approximately the last four years, law enforcement agents have
identified approximately 1,923 separate export shipments originated by the
Subjects in the U.S. The majority of these overseas shipments were facilitated
through a shipping company located in Melville, NY (hereinafter, the "SC").
Significantly, of the identified exports shipped in this timeframe, law
enforcement officers have been unable to identify a single corresponding EEI
form for an SC shipment of an export originated by the Subjects.

21. Presumably, the absence of EEi forms for those shipments would indicate
the vast majority of the Subjects' exports during this timeframe would have had
a value ofless than $2,500. However, agents have discovered numerous
occasions where the Subjects knowingly falsified shipping documents to devalue
the true worth of their exports. Examples of the Subjects' attempts to conceal
their illicit procurement activities are further described below.

22.    Law enforcement officers have obtained and reviewed numerous invoices
for purchases made by the Subjects from a semiconductor manufacturer located
in Newbury Port, Massachusetts (hereinafter, "SM"). Specifically, on or about
March 4, 2013, records reveal that the Subjects purchased three SM microchips
containing part number CY7C253KV18-500BZC (the "Microchips"), for a total
price of $1,326.99. The Subjects' purchase of the Microchips was funded
through a credit card in Alexander Brazhnikov, Jr.'s name, and the invoice
directed that SM ship the items to the NJ Export Companies.

23. Agents subsequently obtained a shipping invoice from SC, dated March 6,
2013, containing the details of a shipment sent from the Subects to an address
in Moscow, under the attention of "Siminovsky Val 12/66," which has been
identified as one of the twelve shell addresses controlled by defendant
ALEXANDER BRAZHNIKOV, SR. and the Subjects' Moscow-based network.
The packing list for the shipment contained a line item for the Microchips with a
listed value of $5.15 total (or approximately 0.38% of the parts' actual value
based on information obtained via open source law enforcement databases).
The shipment contained additional line item entries for other electronics
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components, and the Subjects prescribed a total value of $154.45 for all of the
goods contained in the shipment.

24. A further review of the additional items contained in the March 6, 2013
shipment, however, revealed similar devaluation of the true cost of the items
contained therein. In fact, every other item listed in that shipment was
devalued by the same 0.38% factor. Accordingly, law enforcement agents have
concluded that the true value of the electronics components contained in the
March 6, 2013 shipment was approximately $39,000. Significantly, no EEI
form accompanied this shipment, in violation of U.S. export laws.

25. Additional invoices and shipping documents recovered from SM and SC,
respectively, reveal similarly illicit purchase and export activity. Specifically, on
or about March 15, 2013, records reveal that the Subjects purchased quantities
of two more SM parts for a total price of $477.90. The Subjects' purchase of
these parts was funded through a credit card in Alexander Brazhnikov, Jr.'s
name, and the invoice directed that SM ship the items to the NJ Export
Companies.

26.    Law enforcement officers subsequently obtained a shipping invoice from
SC, dated March 21, 2013, containing the details of a shipment sent from the
Subjects to a recipient purportedly in Finland, which was ultimately received by
defendant ALEXANDER BRAZHNIKOV, SR. and the Moscow-based network
through one of their designated shell entity addresses. The packing list for the
shipment contained line items for each of the aforementioned SM parts with a
listed value of $7.99 total (or approximately 1.67% of the parts' actual value,
based on information obtained via open source law enforcement databases).
The shipment contained additional line item entries for other electronics
components, and the Subjects listed a total value of $1,845. 76 for all of the goods
in the shipment.

27. A further review of the additional items contained in the March 21, 2013
shipment revealed similar devaluation of the true cost of the items contained
therein. In fact, according to a review of open source pricing databases, every
other item listed in that shipment was devalued by the same 1.67% factor.
Accordingly, law enforcement agents have concluded that the true value of the
electronics components contained in the March 21, 2013 shipment was
approximately $110,000. Significantly, no EEI form accompanied this
shipment, in violation of U.S. export laws.

28. The transactions identified above are indicative of the Subjects' pervasive
efforts to intentionally devalue exports in order to evade the necessity of filing an
EEI form. By falsifying the value of the electronic components they exported,
the Subjects were able to conceal the true scope of their unlawful venture.
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                           FORFEITURE ALLEGATION

     The Complaint alleges the following for the purpose of noticing forfeiture
pursuant to Title 18, United States Code, Section 982:

As the result of committing one or more of the money laundering offenses in
violation of Title 18, United States Code, Section 1956, alleged in the criminal
complaint, defendant shall forfeit to the United States pursuant to Title 18,
United States Code, Section 982, all property, real and personal, involved in the
money laundering offense(s) and all property traceable to such property,
including but not limited to the following:

1.      Bank Accounts

      a)     Up to a total of $2,000,000.00, contained in account number
CY29005004820004820731718301 held in the name of "Alexander Brazhnikov"
at Hellenic Bank Public Company, Ltd., Nicosia, Cyprus.

      b)    $1,879,991.64 previously contained in Sberbank of Russia's
interbank or correspondent bank account numbers 0004403077 and
0004169401, held at Deustche Bank Trust Company Americas; and/or account
number 8900057610 held at The Bank of New York Mellon; or any other
correspondent accounts maintained by Sberbank of Russia at JP Morgan Chase
Bank, Wells Fargo, or Bank of America in the United States;

      c)     $699,844.43 previously contained in account number 819009806
held in the name of Zond-R, Inc. at HSBC Bank, which was seized on June 26,
2014;

      d)     $390,914.92 previously contained in account number 8056936322
held in the name of Zond-R, Inc. at PNC Bank, which was seized on June 26,
2014;

      e)    $200,682.16 previously contained in account number
381030608272 held in the name of Zond-R, Inc. at Bank of America, which was
seized on June 26, 2014;

        f)   $33,569.32 previously contained in account number 4304570199
held in the name of Epsilon Electronics Corporation at TD Bank, which was
seized on June 26, 2014;



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       g)  $9,049.44 previously contained in account number 129970920 held
in the name of Telecom Multipliers, Inc. at JP Morgan Chase, which was seized
on June 26, 2014;

       h)    $427,714.49 previously contained in account number 097-101489
held in the name of"Alexander Brazhnikov" at PNC Investments, LLC, which was
seized on October 10, 2014.

       i)   $238.53 previously contained in account number 7527912908 held
in the name of Telecom Multipliers, Inc. at Capital One Bank, which was seized
on October 10, 2014;

      j)     $15,595.86 previously contained in account number 7057324583
held in the name of Zond-R, Inc. at Capital One Bank, which was seized on
October 10, 2014;

       k)    $33,504.89 previously contained in account number 097-101489
held in the name of "Alexander Brazhnikov" at PNC Investments, LLC, which was
seized on October 10, 2014; and

     1)     $377,522.40 previously contained in account number 5937116 held
by Avnet, Inc. at JP Morgan Chase, which was seized on October 10, 2014

If any of the above-described forfeitable property, as a result of any act or
omission of the defendant(s):

(1) cannot be located upon the exercise of due diligence;
(2) has been transferred or sold to, or deposited with, a third person;
(3) has been placed beyond the jurisdiction of the Court;
(4) has been substantially diminished in value; or
(5) has been commingled with other property which cannot be subdivided
without difficulty;

it is the intent of the United States, pursuant to Title 18, United States Code,
Section 982(b), to seek forfeiture of any other property of said defendant up to the
value of the above forfeitable property.

      All in violation of Title 18, United States Code, Sections 982 and 1956.




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